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               EXHIBIT A
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                        Terms and Conditions of Service

The following terms and conditions (as may be updated as provided below, the “Terms and
Conditions”) govern your (you, in such capacity, “Customer”) purchase of certain services (the
“Services”) via Telnyx LLC’s (and/or any of its subsidiaries or other affiliates, “Telnyx”) web-
based portal or API (application programming interface). If you are registering for a Telnyx
account or using the Services on behalf of an organization, then you represent that you have
the authority to bind that organization to the Terms and Conditions and the remainder of the
Agreement (as defined hereinafter), and that the term “Customer” will refer to such organization.
The Terms and Conditions, together with Telnyx’s Acceptable Use Policy (as it may be updated
from time to time, the “AUP”, available at https://telnyx.com/acceptable-use-policy ), Telnyx’s
Privacy Policy (as it may be updated from time to time, the “Privacy Policy”, available at
https://telnyx.com/privacy-policy ), Telnyx’s Cookie Policy (as it may be updated from time to
time, the “Cookie Policy”, available at https://telnyx.com/cookie-policy ), and any and all other
service orders for any Services (each a “Service Order”), supplements, exhibits, schedules,
appendices or other attachments referenced or incorporated herein or entered into in
connection with the provision of the Services are referred to herein sometimes as the
“Agreement”. Telnyx and Customer are sometimes collectively referred to herein as “Parties”
and each individually sometimes as a “Party.”
BY REGISTERING FOR AN ACCOUNT OR USING THE SERVICES (THE FIRST DATE ON
WHICH EITHER OCCURS, THE “EFFECTIVE DATE”), YOU (AND YOUR ORGANIZATION, IF
APPLICABLE) AGREE TO BE LEGALLY BOUND BY THE AGREEMENT, INCLUDING ANY
UPDATES. PLEASE REVIEW THE AGREEMENT CAREFULLY. ONCE ACCEPTED, THE
AGREEMENT BECOMES A LEGAL COMMITMENT BETWEEN YOU AND TELNYX. IF YOU
DO NOT AGREE TO BE BOUND BY THE AGREEMENT, YOU SHOULD NOT CLICK THE
“SUBMIT” BUTTON AND YOU SHOULD NOT USE TELNYX’S SERVICES.
1. Interpretation.
In the event of any direct contradiction between the body of the Terms and Conditions and the
terms of any Service Order, the terms of such Service Order shall control. In the event of any
other direct contradiction between the Terms and Conditions and any other portion of the
Agreement, the Terms and Conditions shall control.
2. Services Provided.
Telnyx agrees to sell, and Customer agrees to purchase and pay for, those services (the
“Services”) as may be requested by Customer in a Service Order; provided that Telnyx, in its
sole discretion, may accept or reject any such Service Order.
3. Term.
3.1. The Agreement is effective on the Effective Date and shall continue until the latest to expire
of all Service Orders, or if there are no Service Orders, then the term of the Agreement shall be
one (1) year from the date Services are first provided to Customer (the “Initial Term”). Each
initial term specified in a Service Order is referred to herein as a “Service Order Initial Term”.
The date of any Service Order is referred to herein as the “Service Commencement Date”
(unless another date is specified as the Service Commencement Date in such Service Order).
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3.2. The Agreement renews automatically for successive twelve (12) month periods (each a
“Renewal Term”) at the expiration of the Initial Term, unless cancelled (a) by either Telnyx at
any time giving at least thirty (30) days’ notice to Customer, (b) by Telnyx immediately on notice
to Customer in the event Customer or its affiliate is a competitor of Telnyx as determined by
Telnyx in its sole discretion, or (c) by Customer giving at least ninety (90) days’ notice to Telnyx
prior to the expiration of the later of (i) the then-current Initial Term or Renewal Term, as
applicable, or (ii) the last to expire of any then-current Service Order Initial Terms.
4. Charges; Billing; Payment.
4.1. Pricing for Services will be provided on a per-product basis. Pricing for Services shall be in
United States Dollar currency (“USD”). In the event Telnyx agrees in writing to accept payment
in a currency other than USD, Customer acknowledges and agrees that Telnyx may adjust any
such invoices or amount(s), in its discretion, to account for any applicable foreign exchange
rate(s).
4.2. Commencing on the Service Commencement Date, Customer will pay the applicable
charges for each Service as specified on the Telnyx website or in the applicable Service Order.
Customer is responsible for all Taxes (as defined in Section 5.1) associated with such charges,
as well as any payphone, toll-free origination, SMS/MMS carrier fees, or other charges should
they arise or be billed by any underlying carrier or provider (each a "Pass-Through Charge");
further, a Pass-Through Charge shall be separate from and not counted towards any minimum
revenue commitment, as appliable. Monthly recurring charges (“MRCs”) will be invoiced on a
monthly basis in advance. Non-recurring charges will be invoiced in advance and are due prior
to the Service Commencement Date. Customer shall maintain sufficient funds on deposit with
Telnyx to pay any charges when incurred (unless otherwise set forth in any Service Order, the
"Due Date"), and Customer hereby authorizes Telnyx to immediately deduct from such deposit
the amount of any charges when incurred by Customer. If funds on deposit become at any point
insufficient to all charges due and owing, then Customer shall immediately deposit an amount
required to zero out such insufficiency with Telnyx. Telnyx reserves the right to suspend all
Services in the event Customer has a negative balance on deposit with Telnyx.
4.3. Any billing dispute or request for a billing adjustment by Customer must be made in good
faith and in writing within fifteen (15) days of the invoice date. Any such request shall include
detailed documentation to establish the basis for any adjustment. Customer agrees to pay the
undisputed portion of the invoiced amount within the time frames set forth in Section 4.2 or a
late payment charge equal to the lesser of 1.5% per month or the maximum amount allowable
under applicable law on all outstanding past due amounts will be imposed. The Parties shall
negotiate in good faith to resolve any billing dispute for a period of thirty (30) days. If the dispute
is resolved in favor of Telnyx, or if Parties fail to mutually resolve the dispute within such thirty
(30) days, Customer shall pay the disputed amount previously withheld, within five (5) days
following such resolution or failure to resolve, as applicable. If the dispute is resolved in
Customer’s favor, then any resulting amounts due to Customer shall be applied as a credit
against a subsequent Customer invoice. Customer agrees to pay on demand all reasonable out-
of-pocket costs of collection under the Agreement, including reasonable attorneys’ fees,
whether or not any action is instituted by Telnyx in its discretion.
4.4. In the event charges due pursuant to any invoice are not paid in full by the Due Date,
Telnyx shall have the right to suspend all or any portion of the Services to Customer
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immediately until such time as Customer has paid in full all charges then due including any late
fees or penalties.
4.5. Telnyx may, upon written notice, impose a monthly credit limit based on information found
in a credit report (the “Monthly Credit Limit”). If such Monthly Credit Limit is put in place,
Customer may not use any Service or combination of Services if such usage will result in the
recurring charges applicable to such Service(s) in any month exceeding the Monthly Credit
Limit. If Customer is delinquent in the payment of fees as set forth herein or if Customer’s
overall financial condition changes adversely (in Telnyx’s reasonable business judgment),
Telnyx reserves the right to require Customer to provide as security a cash deposit or letter of
credit in an amount determined by Telnyx in its sole discretion, and, in such event, Customer
shall provide such security within ten (10) days following Telnyx’s written request therefor.
4.6. Telnyx shall have the right to offset against any obligations owed to Customer against any
obligations owed by Customer for the provision and/or purchase of Services regardless of
whether the obligation arose under this or any other current or future agreement or tariffed
offering.
5. Taxes and Tariffs.
5.1. Customer shall be responsible for and pay any and all applicable foreign, national,
provincial, state and local taxes, including without limitation, all use, sales, value added,
surcharges, excise, franchise, property, commercial, gross receipts, license, privilege or other
similar taxes, levies, surcharges, duties, fees, or other tax related surcharges, whether charged
to or against the terminating party or the originating party, with respect to Customer’s use of the
Services (“Taxes”).
5.2. Telnyx reserves the right to require the submission of certifications of exemption from any
Taxes from which Customer asserts itself to be exempt, along with any updated certifications
required by Telnyx, from time to time in Telnyx’s sole discretion, for any such asserted
exemption to be implemented on any invoice. Notwithstanding Telnyx’s prior acceptance of any
such certificate and in any case, Customer shall indemnify and hold Telnyx harmless from and
against all claims, expenses, liabilities, losses or other damages (including attorneys’ fees and
expenses) relating to any Taxes.
5.3. Customer shall be responsible and pay and any and all state and federal tariffs applicable
to the Services.
6. Termination and Termination Charges and Related
Matters.
6.1. Telnyx may terminate the Agreement, any Service, or both, immediately if Customer (a)
fails to make any payment due under the Agreement, (b) fails to provide security or additional
security within the timeframe, or (c) fails to promptly cure any fraudulent activity.
6.2. Either Party may terminate the Agreement, any Service Order, or both, immediately on
notice, if the other (a) commits a material breach of the Agreement, which is capable of remedy,
and fails to remedy the breach within the Remedy Period (as defined hereinafter), or (b)
commits a material breach of the Agreement which cannot be remedied. Any termination of the
Agreement or Service Order shall take effect upon delivery of written notice to the breaching
party that it failed to cure such nonperformance or breach. The “Remedy Period” means, in the
case of Customer, ten (10) days, and in the case of Telnyx, ninety (90) days.
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6.3. Customer acknowledges that in the event of expiration or termination of the Agreement or
any Service Order, Telnyx has no obligation to continue to provide any Services to Customer.
Customer further agrees that it will immediately effect an orderly and timely transition of services
to another provider and/or route.
6.4. At any time when Customer’s aggregate outstanding balance with Telnyx is no more than
$2 USD (and Customer is not subject to any minimum commitment or other MRCs with Telnyx),
Customer may deactivate Customer’s account, and Telnyx will suspend any access to the
Services, as well as collection of any amounts owed, until such time as Customer reactivates
Customer’s account. The Term of the Agreement shall continue in accordance with the terms
set forth herein and in any Service Orders during any such suspension.
6.5. From time to time, Telnyx may, but is not obliged, to grant to Customer certain promotional,
usage or other credits. If Customer does not use such credits within six months after such
credits have been granted, Telnyx reserves the right to withdraw such credits without any
liability.
7. No Warranties and Limitation of Liability.
7.1. THE SERVICES ARE PROVIDED ON AN “AS IS” AND “AS AVAILABLE” BASIS,
WITHOUT ANY WARRANTIES, EITHER EXPRESS OR IMPLIED OR STATUTORY,
INCLUDING WITHOUT LIMITATION ANY IMPLIED WARRANTIES OF TITLE,
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE AND NON-INFRINGEMENT.
7.2. IN NO EVENT SHALL TELNYX, ITS SUBCONTRACTORS OR AGENTS BE LIABLE FOR
ANY INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL, PUNITIVE, RELIANCE, OR
COVER DAMAGES, INCLUDING LOSS OF PROFITS, REVENUE, DATA, OR USE,
INCURRED BY CUSTOMER OR ANY THIRD PARTY, INCLUDING ANY DAMAGES ARISING
FROM ANY NEGLIGENT ACT OR INADVERTENT OMISSION, WHETHER IN CONTRACT,
TORT OR UNDER LAW, EVEN IF SUCH PARTY HAS BEEN ADVISED OF THE POSSIBILITY
OF SUCH DAMAGES. IN NO EVENT SHALL TELNYX BE LIABLE FOR DAMAGES UNDER
THIS AGREEMENT IN AN AMOUNT IN EXCESS OF THE AMOUNT THAT TELNYX
CHARGED OR WOULD HAVE CHARGED FOR SUCH SERVICES IN THE SIX MONTHS
PRIOR TO WHEN THE CLAIMS FIRST AROSE OR $10,000, WHICHEVER IS LESS.
7.3. IN NO CIRCUMSTANCES SHALL TELNYX, ITS SUBCONTRACTORS, VENDORS OR
AGENTS BE LIABLE FOR ANY OF THE FOLLOWING, EVEN IF INFORMED OF THEIR
POSSIBILITY AND REGARDLESS OF THE FORM OF ACTION, WHETHER IN CONTRACT,
WARRANTY, STRICT LIABILITY OR TORT, INCLUDING, WITHOUT LIMITATION,
NEGLIGENCE OF ANY KIND WHETHER ACTIVE OR PASSIVE: (A) THIRD PARTY CLAIMS
AGAINST CUSTOMER FOR DAMAGES, (B) ANY DELAY, LOSS, DAMAGE OR SERVICE
FAILURE ATTRIBUTABLE TO ANY SERVICE, PRODUCT OR ACTIONS OF ANY PERSON,
INCLUDING BUT NOT LIMITED TO DELAY, LOSS, DAMAGE OR SERVICE FAILURE
ATTRIBUTABLE TO COMPUTER VIRUSES, WORMS, COMPUTER SABOTAGE, ‘DENIAL OF
SERVICE’ ATTACKS, DNS SPOOFING ATTACKS AND/OR OTHER HACKING ATTACKS OF
A SIMILAR NATURE, OR (C) INTEROPERABILITY OF SPECIFIC CUSTOMER
APPLICATIONS.
8. Force Majeure.
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Telnyx shall not be held responsible for any delay or failure in performance of any part of the
Agreement to the extent such delay or failure is caused by: fire; flood; earthquake; the elements;
lightning; explosion; war; act of terrorism; strike; embargo; labor dispute; utility curtailments;
power failures; government requirement; civil or military authority; act of god or nature; inability
to secure materials or transportation facilities; act or omission of carriers or suppliers (other than
the parties themselves); acts or failures to act of any governmental authority; computer viruses
or worms; ‘denial of service’ attacks, DNS spoofing attacks and/or other hacking attacks of a
similar nature or any other causes beyond its reasonable control, whether or not similar to the
foregoing.
9. Updates.
9.1. Telnyx may, at its sole discretion and without liability, change or modify the features,
protocols and functionalities of its portal, API, network, any interconnection point or any portion
of any Service or modify or replace any hardware or software in its network or in equipment
used to deliver any Service.
9.2. Telnyx reserves the right to modify Telnyx’s network, system configurations or routing
configurations.
10. Compliance with the AUP.
10.1. Customer shall comply with the AUP, and shall cause its customers and end users to
comply with the AUP. Customer shall indemnify and hold Telnyx harmless from and against all
claims, expenses, liabilities, losses or other damages (including attorneys’ fees and expenses)
arising in favor of any person, firm or corporation relating to violation of the AUP. Telnyx may
cancel or suspend the provision of, or move to a different platform, the whole or any part of any
Service which is determined to be a violation of, or no longer permitted under, any aspect of the
AUP.
10.2. Telnyx reserves the right, at its sole discretion, to monitor Customer’s traffic patterns, and
to determine if a Service is being used in violation of the AUP. Violation of the AUP may result in
civil or criminal liability, and Telnyx in its sole discretion, in addition to any remedy that it may
have at law or in equity, may immediately terminate permission for Customer to use the
Services, or any portion of the Services, and may charge Customer any applicable rates and
cancellation or termination fees. In addition, Telnyx may investigate incidents that are contrary
to the AUP and provide requested information to third parties who have provided notice to
Telnyx stating that they have been harmed by Customer’s failure to abide by the AUP or the rest
of the Agreement. Telnyx may bring legal action to enjoin violations and/or collect damages
caused by any violation of any part of the AUP. Any violations or attempted violations of the
AUP by Customer (or its customers or end users, or any third party on behalf of any of the
foregoing) will constitute a violation of the AUP by Customer and a material breach of the
Agreement. Telnyx’s failure to enforce this policy in every instance in which it might have
application does not amount to a waiver of Telnyx’s rights.
11. Other Terms.
11.1. Customer is solely responsible for ensuring that Customer possesses appropriate
software and hardware and other technology to benefit from any portion of the purchased
Services. Telnyx shall be reasonably responsive in answering questions pertaining to what may
constitute such appropriate software, hardware and/or other technology.
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11.2. Customer is solely responsible for (a) content of information and communications
transmitted using the Services, and (b) use and publication of communications and/or
information using the Services. Customer understands and agrees that Telnyx is only a conduit
for the transmission of Customer and third-party information, and that Telnyx neither initiates the
transmission of information, selects the receivers of the transmission, nor selects nor modifies
the information contained in the transmission.
11.3. Customer is solely responsible for complying with protocols specified by Telnyx on its
portal and Telnyx shall have no liability for Customer’s failure to so comply.
11.4. Customer will ensure that neither the Customer nor any party with whom it does business
will commence or implement any Local Number Portability (Port Out or Port In) process or
authorization without the express, written consent of Telnyx. Subject to applicable law,
Customer shall pay all fees associated with any Port Out process in advance.
11.5. The Parties will mutually agree on the points of demarcation or interconnection for all
Services, as and to the extent applicable.
11.6. Telnyx shall not be liable for any inaccuracy in any data or records pulled from any
database not maintained by Telnyx, including, without limitation, the LERG (Local Exchange
Routing Guide), CNAM (Caller ID Name) and the SCP (Service Control Point) or any other
similar database for purposes of determining LRN (Location Routing Number).
11.7. Customer will have the sole responsibility to input, validate and maintain accurate
information with respect to Customer’s end users, customers and/or subscribers. Customer will
furthermore be solely responsible for any and all support of and for Customer’s end users,
customers, and/or subscribers as it relates to the Services.
11.8. Customer acknowledges that, as between the Parties, Telnyx is the sole owner of any
intellectual property arising out of or related to the Services, and hereby assigns to Telnyx any
jointly-developed intellectual property developed by the Parties or, in the event that such
assignment is unenforceable for any reason, hereby grants to Telnyx a perpetual, universal,
royalty-free, freely assignable and sublicensable license to use any such jointly developed
intellectual property.
11.9. Customer hereby acknowledges that, because the provision of the Services may involve
the interaction of various communications services, Telnyx cannot guarantee the delivery,
accuracy, content, availability or performance of the Services. Similarly, because Telnyx cannot
guarantee the content transmitted over the Services, the content may include unsolicited
commercial text or email messages (“Unsolicited Content”). Customer hereby provides its
express acknowledgement of and consent to the receipt of Unsolicited Content under the TCPA
and other applicable consumer protection laws. Further, Customer will and will require its
customers to obtain producible documentation sufficient to demonstrate that it has made a clear
and conspicuous disclosure to any recipients of any message that such recipients may receive
Unsolicited Content, and that such recipients have unambiguously consented to receive such
message as required by the TCPA and other applicable consumer protection laws.
11.10. Customer hereby, on its behalf and on behalf of the End-Users (as defined hereinafter)
(Customer, together with the End-Users, being referred to hereinafter as the “Appointing
Parties”, and each, an “Appointing Party”), hereby makes, constitutes and appoints Telnyx, with
full power of substitution and re-substitution, each Appointing Party’s true and lawful attorney-in-
fact for the Appointing Party and in the Appointing Party’s name, place and stead and for the
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Appointing Party’s use and/or benefit, to sign, execute, certify, acknowledge, swear to, file and
record all agreements, certificates, instruments and other documents with or for the benefit of
any third party as may be required to provide the Services, including, without limitation, any
letters of authorization with respect to the porting of any telephone number(s). If Customer is not
an End-User, Customer hereby covenants and agrees to obtain identical powers of attorney
from each and every of its customers, and to the extent such customers of Customer are not
End-Users, to cause such customers to (a) obtain identical powers of attorney from each and
every of their customers, as well as (b) to cause such customers to covenant that they will
include a covenant identical to this one in their contracts with such customers. Customer hereby
represents and warrants that the powers of attorney granted by the Appointing Parties in this
paragraph are enforceable in accordance with their terms, except to the extent as may be
limited by applicable law or regulation. As used herein, the “End-Users” (each, an “End-User”)
means those natural persons and/or entities who ultimately use or are intended to ultimately use
or benefit from the Services.
11.11. Customer agrees that when it is acting as an upstream provider originating traffic
(hereinafter referred to as an “Originating Provider”) or passing traffic through (hereinafter
referred to as a “Transit Provider”), if it receives a request form a traceback administrator
authorized by USTelecom’s Traceback Group for information about suspicious robocalls that
have been sent to a downstream provider (hereinafter referred to as a “Traceback Request”),
Customer will promptly respond to the Traceback Request in good faith. Customer agrees that
its response shall indicate if it is in the call path as the Originating Provider of the calls (i.e.,
Customer received the calls from Customer’s End-User) or (ii) a Transit Provider (i.e., Customer
received the calls from another voice provider). The response shall also identify the source of
the calls. Customer agrees to share this information without requiring a subpoena or other
formal demand or request.
11.12. If Customer resells Termination service to a telecom service provider, Customer agrees
that, within three (3) months of Customer’s execution of this Agreement, Customer will include
the terms of Section 11.11 in its entirety in each of its agreements with its upstream providers.
11.13. Telnyx may provide interstate/intrastate designations in certain CDR reports, however,
such designation is for convenience only and Customer expressly releases Telnyx from any
liability associated with the use of such terms as terms of art and Telnyx expressly disclaims
any implied representations regarding such terms and designations.
11.14. Customer shall take all reasonable steps and precautions to protect the Services from
unauthorized access, including, but not limited to, protecting and securing Customer’s
passwords and API keys from being disclosed to or accessed by third or other unauthorized
parties. Customer shall immediately notify Telnyx if Customer becomes aware of any possible
or actual unauthorized use, misuse or access of the Service. Upon Customer’s breach of the
obligations set forth herein or Telnyx’s reasonable belief of such breach, Telnyx may
immediately suspend the provision of the Services, in whole or in part, in its sole discretion.
Customer shall indemnify and hold harmless Telnyx against any and all claims, expenses,
liabilities, losses or other damages (including attorneys’ fees and expenses) resulting from the
failure of Customer to comply with this paragraph.
11.15. Customer hereby represents, warrants, and covenants Customer is in compliance with its
obligations under or related to 47 CFR § 64.6305 (“STIR/SHAKEN”), which may include, inter
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alia, the requirement to register with the Federal Communications Commission’s (“FCC”)
Robocall Mitigation Database in the event Customer is a voice service provider, gateway
provider, or non-gateway intermediate provider under STIR/SHAKEN. Telnyx may suspend the
Services and/or refuse traffic in the event Customer has breached the foregoing representation,
warranty, or covenant. Customer shall indemnify and hold harmless Telnyx against any and all
claims, expenses, liabilities, losses or other damages (including attorneys’ fees and expenses)
resulting from the failure of Customer to comply with this paragraph.
12. Telephony Services.
This Section applies to telephony Services. All calls to the U.S. and Canada are billing in sixty
second increments with a sixty second minimum. Telnyx will make available to Customer
reasonably requested DID and toll-free telephone numbers where Telnyx has access to such
numbers. A “Short Duration” call is a call that is six (6) seconds or less in duration (note that
durations for Short Duration traffic are subject to change or may be different based on
jurisdiction). Customer must inform Telnyx if it intends to exchange Short Duration traffic. Short
Duration traffic is subject to a surcharge of $0.01 per call, in addition to all other applicable
charges. Short Duration traffic may be moved by Telnyx to an alternate platform, in Telnyx’s
sole discretion.
13. Messaging Services.
This Section applies in the event that Customer is purchasing messaging (SMS/MMS) Services.
13.1. Customer acknowledges and agrees that messages to or from Customer or Customer’s
end users, customers and/or subscribers may be blocked by carriers or other service providers
for reasons known or unknown to Telnyx; Telnyx is under no obligation to investigate or remedy
any such blockage for Customer or any of Customer’s end users, customers or subscribers.
Telnyx and its vendors do not guarantee delivery, regardless of the reason, of any messages.
Customer is responsible for maintaining continuous availability to receive messages from Telnyx
via IP connectivity.
13.2. The following applies only if Customer uses Short Codes (as defined hereinafter). A “Short
Code” is a 5- or 6- digit number that represents either the originating or terminating end of an
SMS conversation. Short Codes are associated with one or more Campaigns (as defined
hereinafter). A “Campaign” is an SMS-based one-way or two-way conversation that a user “opts
in” to receive; Campaigns are assigned to one or more Short Code(s). Telnyx may, in its
discretion, approve or reject any Campaign, and suspend any portion of the services pertaining
to any rejected Campaign.
13.3. Customer’s use of SMS/MMS Services must comply with any applicable Messaging
Principles (as defined below) and all applicable laws. Customer will be solely responsible for the
evaluation and qualification of Customer’s actual and prospective end users’ use cases to
ensure such use cases follow applicable Messaging Principles. Customer will be solely
responsible for compliance by Customer (and by Customer’s end users) with any applicable
Messaging Principles applicable to any utilization of SMS by Customer, Customer’s end users,
or any other person or entity to which Customer provides any services utilizing SMS. Any SMS
message that does not comply with the Messaging Principles and/or applicable laws constitutes
a violation of the AUP. Telnyx reserves the right to take any action necessary for Telnyx to
comply with any applicable Messaging Principles. “Messaging Principles” shall mean each of
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the following: (i) the messaging principles and best practices as promulgated by the Cellular
Telecommunications Industry Association (CTIA) from time to time and (ii) any messaging
principles and/or acceptable use policies of any applicable upstream vendor or provider of such
services. In the event of any conflict between Messaging Principles and this Agreement, the
terms of this Agreement shall be controlling.
14. E911 Services.
This Section applies in the event that Customer is purchasing E911 Services.
14.1. Certain Definitions.
“Automatic Number Identification” or “ANI” means the telephone number associated with the
access line or its equivalent from which an E911 emergency services call originates.
“Automatic Location Identification” or “ALI” means the automatic display at the PSAP of the
caller’s telephone number, the address/location of the telephone and, in some cases,
supplementary emergency services information.
“E911 Service” (also referred to as “E911” or “Enhanced 911 Service”) means a telephone
exchange communications service whereby a PSAP answers telephone calls placed by end
users dialing the number 911.
“E911 Authority” means a municipality or other state or local government unit, or an authorized
agent of one or more municipalities or other state or local government units to whom authority
has been lawfully delegated to respond to public emergency telephone calls, at a minimum, for
emergency police and fire services through the use of one telephone number, 911. For clarity,
an E911 Authority may be an individual PSAP, or an entity responsible for the management and
operation of multiple PSAPs within a given geographic area.
“NENA” means National Emergency Number Association.
“NENA Company ID” means the three to five (3 to 5) character identifier obtained by Customer
from NENA (the National Emergency Number Association). The NENA Company ID allows the
PSAP to identify the switching carrier for the caller, and to determine the 24 x 7 number of the
entity for emergency contact needs.
“PSAP” means an answering location for E911 calls originating in a given area. The E911
Authority may designate a PSAP as primary or secondary, which refers to the order in which
calls are directed for answering. Primary PSAPs answer calls; secondary PSAPs receive calls
on a transfer basis. PSAPs are public safety agencies such as police, fire, emergency, medical,
etc., or a common bureau serving a group of such entities.
14.2. Customer only will use E911 Services for Approved Uses (as defined hereinafter).
“Approved Uses” means the provision of E911 Services to (i) end users who principally utilize
such services at such end user’s residence and occasionally at other locations, whether due to
an end user’s use of mobile devices in connection with such services or otherwise; (ii) end users
that are enterprises that use either an on-site or hosted private branch exchange during
customary business hours and should reasonably be expected to have reasonably customary
911 usage patterns due to the nature of such enterprise’s business or operations; (iii) end users
that operate non-emergency call center(s) that should reasonably be expected to have only
occasional use of 911 due to the nature of such call center’s business or operations (central
station alarm and other similar call centers that direct calls to emergency services do not
constitute “Approved Uses”); and (iv) end users that operate call center(s) that support the deaf
and/or hard of hearing community, which are more commonly known as “relay services.” For
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clarity with respect to clause (ii), enterprises that (X) use either an on-site or hosted private
branch exchange but operate outside customary business hours, including, without limitation,
assisted living facilities, nursing homes and other similar facilities, and to which clauses (iii)
and/or (iv) above do not apply; or (Y) should not reasonably be expected to have reasonably
customary 911 usage patterns due to the nature of such enterprise’s business or operations do
not constitute “Approved Uses”.
14.3. Telnyx will provide the PSAP only such name, address and telephone number information
as Customer will provide to Telnyx, and Telnyx will only pass to the PSAP such information,
including ALI and/or ANI data, as Customer’s facilities, network or station equipment will make
properly available to Telnyx’s network and equipment for transmission to the PSAP.
14.4. Customer must instruct end users not to block their telephone number on their handsets
when calling 911. Customer will maintain a NENA Company ID and remain in good standing
with NENA standards, including, but not limited to the requirement that Customer will have live
technical assistance available on a 24 hour, 7 day a week basis, to permit any PSAP to contact
Customer for information that may assist with call trace, hostage situations, investigation of
prank calls, etc. For each telephone or DID (direct-inward-dial) number for which Customer
desires Services, Customer must provide Telnyx with a correct and valid emergency response
address for that number. The address information provided must include sufficient information to
enable emergency responders to locate the calling party and must comply with any multiline
telephone system requirements applicable to Customer. For example, if applicable pursuant to
any applicable multiline telephone system requirements, if the subscriber or end user’s location
is a multi-story building, Customer must provide floor and suite number in addition to address
information. Customer is solely responsible to promptly update this information whenever
necessary to reflect changes. Customer will provide ANI with every subscriber and/or end user
call presented to Telnyx for processing. Telnyx will have no obligation to provide Services with
respect to any subscriber or end user call that does not include ANI and will not be liable for any
claims arising from any efforts undertaken by Telnyx to provide Services under such
circumstances.
14.5. Customer will inform any party using (or any party that might use) the Services of the
difference between traditional 911 and VoIP 911 service in compliance with all applicable laws
and/or other governmental requirements imposed or required by any governmental authority,
including, without limitation, the FCC.
15. Toll Free Services.
This Section applies in the event that Customer is purchasing Services with a toll-free traffic
component (i.e., toll-free termination Services, toll-free origination Services, toll-free messaging
services). Telnyx shall act as the party responsible for managing and administering the account
records in the Toll-free Service Management System Database (the “Responsible
Organization”). Telnyx’s responsibilities as the Responsible Organization are limited to
coordinating data entry, record changes, trouble acceptance and troubleshooting referrals and
clearances. Customer agrees, from time to time, to take such actions as may be reasonably
requested by Telnyx to ensure that Telnyx is in compliance with all of its governmental and
industry requirements in its capacity as the Responsible Organization. As the Responsible
Organization, Telnyx is limited in the number of toll-free reservations it may hold. Reservations
are on a first-come, first-served basis. Telnyx will not be responsible for any toll-free reservation
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unavailability as a result of Telnyx being at capacity with respect to toll-free reservations. In
addition to the terms set forth in the AUP, Customer is strictly prohibited from using toll-free
Services for 911 or other emergency service communications. CUSTOMER SHALL
INDEMNIFY AND HOLD HARMLESS TELNYX AGAINST ANY AND ALL CLAIMS,
EXPENSES, LIABILITIES, LOSSES OR OTHER DAMAGES (INCLUDING ATTORNEYS’ FEES
AND EXPENSES) RESULTING FROM THE FAILURE OF CUSTOMER TO COMPLY WITH
THIS PARAGRAPH.
16. Database Services.
This Section applies in the event that Customer is purchasing LRN (Location Routing Number)
or other database Services (i.e., Services relying on the LERG, CNAM and/or SCP, or similar
databases). Customer hereby represents and warrants that (a) Customer shall access and/or
use such Services solely for purposes of (i) routing, rating or billing telephone calls, or (ii)
performing network maintenance in connection with the provision of telecommunications-related
services; and (b) Customer has signed an NPAC (Number Portability Administration Center)
user agreement for acceptable use of data in all regions. Customer shall immediately provide
documentation to evidence the foregoing upon request from Telnyx. Notwithstanding anything to
the contrary in the Agreement, in the event Telnyx’s agreement with NPAC is terminated for any
reason, Telnyx may terminate the Services by giving Customer written notice of such
termination. Customer acknowledges and agrees that Customer does not have any right, title, or
interest to any data contained within any database associated with the Services. Customer shall
indemnify and hold harmless Telnyx from and against any and all losses, liabilities, claims, or
demands, including but not limited to reasonable attorney’s fees, made by any third party due to
or arising out of Customer’s breach of this Section 16.
17. Storage Services
This Section applies in the event that Customer is purchasing storage Services (“Storage
Services”).
17.1. Notwithstanding anything else herein or in any Service Order, addendum, or other
agreement between Telnyx and Customer to the contrary: (1) Telnyx makes no representations
or warranties with respect to Storage Services (including but not limited to suitability of the
Storage Services for the processing of any particular types of data) and such services are
provided on an “as is” and “as available” basis; and (2) in no circumstances shall Telnyx, its
subcontractors, vendors, or agents be liable for any damages in connection with Storage
Services (and notwithstanding Section 7 of this Agreement). Customer acknowledges and
agrees: (a) in the event any data processing agreement, data processing addendum, or any
other similar agreement between Telnyx and Customer is in place (including any applicable
provisions set forth herein, collectively, any “DPA Provisions”), such DPA Provisions shall not
apply solely with respect to any Storage Services or any storage materials (such materials,
“Storage Content”); (b) Telnyx may use third-parties, in its sole discretion, as applicable in the
provision of the Storage Services; and (c) Customer may not have access to content identifiers
(“CID’s”) with respect to its Storage Content and Customer’s access to its Storage Content shall
be managed exclusively through Telnyx’s application programming interface.
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17.2. Customer hereby grants Telnyx a non-exclusive, royalty-free, worldwide, perpetual,
irrevocable, transferable and fully sublicensable right to transfer, store, and use any Storage
Content as necessary to provide the Storage Services.
17.3. Customer further acknowledges and agrees: (1) Telnyx will not be responsible for any
loss, misuse, or deletion of Storage Content or any failure of any Storage Content to be stored
or encrypted. Customer is solely responsible for backing up any Storage Content; (2) Customer
is responsible for properly configuring and using the Storage Services to store its Storage
Content, and for maintaining appropriate security of its Storage Content, which may include the
use of encryption. Telnyx reserves the right at any time, without notice, to remove, reject or
delete any Storage Content that violates the terms of this Agreement or the AUP; (3) Customer
shall not use the Storage Services to send or store personal information subject to special
regulatory or contractual handling requirements (e.g., Payment Card Industry Data Security
Standards, the Gramm-Leach-Bliley Act, the Health Insurance Portability and Accountability Act,
and/or any other data protection laws) including without limitation: credit card information, credit
card numbers and magnetic stripe information, social security numbers, driver’s license
numbers, passport numbers, government-issued identification numbers, health-related
information, biometric data, financial account information, personally identifiable information
collected from children under the age of 13 or from online services directed toward children, and
real time geo-location data which can identify an individual, or information deemed “sensitive”
under applicable law (such as racial or ethnic origin, political opinions, or religious or
philosophical beliefs); (4) Customer shall not (a) reverse engineer, copy, modify, adapt, hack the
Storage Services or otherwise attempt to gain unauthorized access to the Storage Services or
its related systems or networks; (b) without authorization, access the Storage Services, any
related documentation, or Telnyx’s Confidential Information to build a competitive product or
Storage Services; (c) alter or remove, or permit any third party to alter or remove, any
proprietary trademark or copyright markings incorporated in, marked on, or affixed to the
Storage Services; (d) access or use the Storage Services: (i) to store infringing, obscene,
threatening, or otherwise unlawful material, including material violative of third-party privacy
rights; (ii) in violation of applicable laws; (iii) to store material knowingly or intentionally
containing software viruses, worms, Trojan horses, or other harmful computer code, files, or
scripts; or, (iv) in a manner that interferes with or disrupts the integrity or performance of the
Storage Services (or the data contained therein); (5) Telnyx may immediately, with or without
notice, suspend the account of any Customer or end user who: (a) violates this Agreement (b) is
using the Storage Services in a manner that Telnyx reasonably believes may cause a security
risk, a disruption to others’ use of the Storage Services or liability for Telnyx; and (6) Telnyx has
the right to remove any Storage Content if any fees hereunder are unpaid or overdue.
17.4. Customer shall indemnify and hold harmless Telnyx from and against any and all losses,
liabilities, claims, or demands, including but not limited to reasonable attorney’s fees, made by
any third party due to or arising out of (i) Customer’s use of the Storage Services, (ii) the
Storage Content, or (iii) Customer’s breach of this Section 17.
18. Confidential Information.
18.1. For the purposes of the Agreement, “Confidential Information” means confidential or
proprietary technical or business Information given by one Party (“Discloser”) to the other Party
(“Recipient”) and identified in writing by the Discloser as Confidential Information in accordance
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with this Section. Confidential Information does not include information: (a) which was in the
possession of the Recipient free of restriction prior to its receipt from the Discloser, (b) that is or
becomes publicly known or available through no breach of the Agreement by the Recipient; (c)
that is or becomes rightfully acquired by the Recipient free of restrictions on its disclosure; or (d)
that is or becomes independently developed by personnel of the Recipient to whom the
Discloser’s Confidential Information had not been previously disclosed. Notwithstanding the
foregoing, (i) nonpublic information regarding the Services, including, without limitation,
unpublished pricing, shall constitute Telnyx's Confidential Information and (ii) the identity and/or
intellectual property of Customer's customers and/or any end user shall not constitute
Confidential Information.
18.2. For a period of five (5) years from the receipt of Confidential Information from the
Discloser, except as otherwise specified in the Agreement or by agreement of the Discloser, the
Recipient agrees: (a) to use it only for the purpose of performing under the Agreement, and (b)
to hold it in confidence and disclose it to no one other than its employees having a need to know
for the purpose of performing under the Agreement.
18.3. This Section 18 supersedes any prior non-disclosure or confidentiality agreement or any
agreement containing such terms between the Parties. Notwithstanding the foregoing, any non-
disclosure or confidentiality agreement entered into by the Parties in advance of the Agreement
will remain effective according to its terms with respect to any information exchanged by the
Parties prior to the Effective Date.
18.4. Notwithstanding the foregoing Sections 18.1 - 18.3, nothing herein limits (i) Telnyx’s ability
to comply with any governmental requirement or request, including, without limitation,
responding to any subpoenas, or (ii) Telnyx’s ability to use Customer account detail and other
information to improve the Service or develop new services.
19. General.
19.1. The Agreement shall be exclusively governed by the laws of the State of Illinois, without
regard to its conflicts of laws principles.
19.2. Any dispute arising out of the Agreement that cannot be resolved between the parties,
must be submitted to binding arbitration in Chicago, Illinois, USA in accordance with the rules
established by the American Arbitration Association (“AAA”). The decision of a sole arbitrator
shall be binding on all parties. Either Party may initiate arbitration by providing written demand
for arbitration, a copy of the Agreement and the administrative fee required by the AAA Rules to
the AAA located in Chicago, Illinois. A copy of the notice shall also be provided to the other
Party. The remaining cost of the arbitration, including the fees and expenses of the arbitrator,
shall be shared equally by the Parties unless the arbitrator’s award provides otherwise.
19.3. Except for claims for indemnification, no action or proceeding against Telnyx will be
commenced more than one (1) year after the Service which is the basis for the action or
proceeding is rendered, and each party acknowledges that this limitation constitutes an express
waiver by it of any rights under any applicable statute of limitations which would otherwise afford
additional time.
19.4. All notifications, requests, demands and other communications required or permitted
under the Agreement (“Notices”) will be in writing and addressed to, in the case of Telnyx, the
recipient Party at the address(es) specified below or, in the case of Customer, to an address
(including an email address) associated with Customer’s account with Telnyx. If to Telnyx:
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c/o Telnyx LLC
205 N Michigan Ave, #810
Chicago, Illinois 60601
Email: legal@telnyx.com
19.5. Nothing contained herein shall constitute this arrangement to be a joint venture or a
partnership between Telnyx and Customer. Neither Party has any authority to enter into
agreements of any kind on behalf of the other Party. Telnyx has no relationship with or
obligation to any of Customer’s end users, customers, subscribers, or any other person or entity
to which Customer provides any services (including any Services), none of whom is a third-party
beneficiary of the Agreement or any portion hereof.
19.6. Customer may not assign its rights or obligations under the Agreement without the prior
written consent of Telnyx. Any transaction or series of transactions which will result in the
individual(s) and/or entities that held or controlled Customer prior to such transaction and/or
series of transactions ceasing to hold or control at least 50% of Customer shall be deemed an
assignment for purposes of the first sentence of this Section 19.6. Telnyx may freely assign its
rights and/or obligations or any portion of them to any affiliate or third party.
19.7. Each party shall, at its own expense, ensure that it complies with and reasonably assists
the other party to comply with the requirements of all legislation and regulatory requirements in
force from time to time relating to the use of personal data and the privacy of electronic
communications, including (i) the Data Protection Act 2018 and any successor UK legislation,
(ii) the General Data Protection Regulation ((EU) 2016/679) or the UK General Data Protection
Regulation (as applicable), as well as (iii) California Consumer Privacy Act (CCPA 2018) and
any other applicable legislation relating to data protection and privacy. Each party shall respect
each other’s privacy provisions and will only use the information provided by Customer to
Telnyx or collected in the provision of the Services in accordance with the Privacy Policy and,
where applicable, any data processing addedum. Notwithstanding anything to the contrary and
subject to the Privacy Policy, Customer agrees that Telnyx may use and process data (including
personal data), information, and content (herein, the “Content”) provided by Customer in
connection with the Agreement or the Services contemplated herein, consistent with applicable
law and regulation. Purposes for such usage and processing include, but are not limited to,
operating, analyzing, and improving the Services, promoting the Services, or developing new
technologies and services for Telnyx are each deemed to be in connection with the Agreement
and the Services contemplated herein. Customer confirms that it has obtained all necessary
consents to such processing and usage from the data subjects concerned.
19.8. Neither Party will publish or use any advertising, sales promotions, press releases or other
publicity which uses the name, logo, trademarks or service marks of the other without the prior
written approval of the other; provided that, notwithstanding anything to the contrary set forth
herein, Telnyx may publicly disclose that Customer is a customer of Telnyx and the nature of
Customer’s use case for the Services, including, without limitation, the identity and intellectual
property of Customer's customers and/or end users, and may use Customer’s logo to so identify
Customer, including on Telnyx’s website.
19.9. The Terms and Conditions are subject to change from time to time in Telnyx’s sole
discretion with such changes being effective upon posting at https://telnyx.com/sign-up, link:
“Terms and Conditions of Service”. Unless otherwise designated by Telnyx in writing in
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accordance with this Section 19.9, all fees and charges hereunder shall automatically be subject
to an eight (8) percent per annum increase adjustment. If any provision of the Agreement is held
to be invalid or unenforceable, the remainder of the Agreement will remain in full force and
effect, and such provision will be deemed to be amended to the minimum extent necessary to
render it enforceable.
19.10. Termination of the Agreement shall not affect either Party’s accrued rights or obligations
under the Agreement as they exist at the time of termination, or any rights or obligations that
either expressly or by implication continue after the Agreement has ended.
19.11. A waiver by Telnyx of any term or condition of this Agreement in any instance shall not
be deemed or construed as a waiver of such term or condition in the future. No waiver by Telnyx
of any breach of this Agreement shall be considered valid unless in writing. The failure or delay
of Telnyx in exercising any of its rights under this Agreement shall not constitute a waiver of
Telnyx's rights.
19.12. Except as may otherwise be provided herein, the assertion by a Party of any right or the
obtaining of any remedy hereunder shall not preclude such Party from asserting or obtaining
any other right or remedy, at law or in equity, hereunder.
19.13. The following Sections 4, 5, 6, 7, 10, 11, 18, 19 and any indemnities hereunder shall
survive the termination of this Agreement.
19.14. The Agreement may be executed by facsimile and/or other electronic signature and may
be executed in one or more counterparts, each of which counterparts shall be deemed an
original, but all of which together shall constitute one, and the same, agreement.
19.15. Customer expressly requests to receive information via phone call, SMS/text message
and/or email, even if Customer is listed on any internal state or federal Do-Not-Call Registry list.
Consent is not a requirement to purchasing Services; Customer may opt-out by replying "STOP"
to any message received and may request additional assistance by replying "HELP". Customer
may receive up to 10 messages per month. Message and data rates may apply.
19.16. The parties waive any right to assert any claims against the other party as a
representative or member in any class or representative action, except where such waiver is
prohibited by law or deemed by a court of law to be against public policy. To the extent either
party is permitted by law or court of law to proceed with a class or representative action against
the other, the parties agree that: (i) the prevailing party shall not be entitled to recover attorneys’
fees or costs associated with pursuing the class or representative action (notwithstanding any
other provision in this Agreement); and (ii) the party who initiates or participates as a member of
the class will not submit a claim or otherwise participate in any recovery secured through the
class or representative action.
19.17. The Agreement (including, without limitation, the Terms and Conditions, the AUP, the
Privacy Policy, the Cookie Policy and any and all Service Orders, supplements, exhibits,
schedules, appendices or other attachments referenced or incorporated herein or entered into in
connection with the purchase of the Services) represents the entire agreement between the
Parties with respect to the subject matter hereof and supersedes all prior agreements and
understandings, written or oral.
